 Case 1:22-mc-03696-HG-PK Document 13-5 Filed 09/28/22 Page 1 of 1 PageID #: 273
                                               Tuesday, September 27, 2022 at 09:38:53 Central Daylight Time


Subject:     Spartan li*ga*on
Date:        Monday, August 15, 2022 at 3:24:59 PM Central Daylight Time
From:        Cal Mayo
To:          David Tyler Adams
CC:          Yitz Kopel

AHachments: image001.png

Tyler,

I do not know the status of resolu4on as to the communica4ons with Dr. Yee to which Yitz Kopel
asserted immunity. As I previously men4oned, if Yitz is not taking any formal ac4on to prevent their
disclosure, I will provide them to you.

Yitz, Tyler has indicated he will ﬁle a mo4on to compel as to the subpoena issued to Dr. Yee. At this
point, I do not know all of the issues which he intends to raise for AC2T. However, he has previously
men4oned your emails with Dr. Yee, about which you previously communicated with Ed and Anna at
Venable. If you con4nue to assert immunity as to those communica4ons and have not reached an
agreement with AC2T as to the withholding of those emails from produc4on, please ﬁle a mo4on for
protec4ve order in the S.D. Miss. by the end of this week. Absent such a mo4on, I will produce the
referenced emails in response to the subpoena.

Cal

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